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13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
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15
     UNITED STATES OF AMERICA,                Case No. 2:21-CV-07315
16
                Plaintiff,                    COMPLAINT FOR FORFEITURE
17
                      v.                      18 U.S.C. § 981(a)(1)(A) & (C) and
18                                            21 U.S.C. § 881(a)(6)
     $443,000.00 IN U.S. CURRENCY,
19                                            [FBI]
                Defendant.
20

21
           Plaintiff United States of America brings this claim against
22
     defendant $443,000.00 in U.S. Currency, and alleges as follows:
23
                                JURISDICTION AND VENUE
24
           1.    The government brings this in rem forfeiture action
25
     pursuant to 18 U.S.C. § 981(a)(1)(A) & (C) and 21 U.S.C. § 881(a)(6).
26
           2.    This Court has jurisdiction over the matter under 28 U.S.C.
27
     §§ 1345 and 1355.
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1          3.    Venue lies in this district pursuant to 28 U.S.C. § 1395.

2                                 PERSONS AND ENTITIES

3          4.    The plaintiff in this action is the United States of

4    America.

5          5.    The defendant in this action is $443,000.00 in U.S.

6    Currency (the “defendant currency”) seized by law enforcement

7    officers on or about March 22, 2021, at U.S. Private Vaults at 9182

8    Olympic Boulevard in Beverly Hills, California and located within box

9    number 5002.
10         6.    The defendant currency is currently in the custody of the
11   United States Marshals Service in this District, where it will remain
12   subject to this Court’s jurisdiction during the pendency of this
13   action.
14         7.    The interests of Quaran Corbin may be adversely affected by
15   these proceedings.
16                                BASIS FOR FORFEITURE

17   Background Regarding U.S. Private Faults

18         8.    U.S. Private Vaults (“USPV”) is a company that was in the

19   business of renting safe deposit boxes to customers.          By providing

20   and promoting total anonymity, USPV catered to and attracted

21   criminals who sought to keep their identities and the source of their

22   cash beyond the reach of banks, regulators, the IRS, and law

23   enforcement.

24         9.    The company’s primary pitch to customers was anonymity, as

25   reflected in its website that provided “Complete Privacy; Biometric

26   Identification; No ID Required.”       USPV also boasted in its website

27   “Our business is one of the very few where we don’t even want to know

28   your name.    For your privacy and the security of your assets in our

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1    vault, the less we know the better.”        This advertisement appealed to

2    persons engaged in activities which they wished to hide from legal

3    authorities and law-abiding financial institutions.

4          10.   USPV also posted on its website “Four Reasons to Store Your

5    Gold At USPV,” information designed to market the company’s services,

6    which led to many involved in criminal activities to rent boxes from

7    USPV.   The posting asserted:

8          Banks require clients to provide their social security

9          number and a photo identification as a condition for
10         renting a safe deposit box.      Your information is then filed
11         in the bank's central data system.       This information can be
12         easily accessed by government agencies (such as the IRS) or
13         attorneys armed with court orders. If no one is aware you
14         have a safe deposit box, the contents (your gold) are much
15         safer.
16   By advocating a service which circumvented the IRS and persons “armed
17   with court orders,” customers engaged in illegal activity were
18   attracted to and ultimately stored and secreted their criminal

19   proceeds (which the government has a legitimate interest in) at USPV,

20   instead of at banks or law-abiding financial institutions where their

21   illegal activities would more likely be uncovered.

22         11.   In the same post, “Four Reasons to Store Your Gold At

23   USPV”, USPV stated:

24         As government chartered institutions, banks are now

25         required to file “suspicious activity reports.” . . . U.S.

26         Private Vaults is not subject to federal banking laws and

27         would only cooperate with the government under court order.

28   By marketing services in this fashion, some persons who ultimately

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1    became USPV customers, were attracted by the advertisements because

2    USPV’s safe deposit box storage facilities offered them a much safer

3    place to store their illegal criminal proceeds, unlike law-abiding

4    banks, so as to eliminate their fear of apprehension by law

5    enforcement and in promotion of their illegal activities.

6          12.   Further, and in order to shield customers from having law

7    enforcement uncover their illegal activity, USPV encouraged its

8    customers pay their box rental fees in cash.         In addition, USPV

9    charged customers significantly higher prices than those charged by
10   major banks, because USPV offered something which legitimate banks do
11   not: anonymity, a place to store illegally obtained cash, tips and
12   assistance in avoiding law enforcement and a willingness to look the
13   other way with regard to all types of criminal conduct.           And one of
14   USPV’s owners has gone so far as to brag about bringing to USPV
15   individuals selling marijuana and other drugs illegally, based on the
16   owner’s connections, by marketing USPV as a safe place for those
17   criminal actors and potential USPV customers to store their ill-
18   gotten gains.

19         13.   Not surprisingly, because USPV’s business model is designed

20   to appeal and cater to criminals, USPV has repeatedly been used by

21   criminals to store criminal proceeds.        Over the years, the contents

22   of specific boxes at USPV have been forfeited because they are the

23   proceeds of criminal activity.       For example, on July 1, 2019,

24   officers seized $215,653 from Michael Beaver, as he was leaving USPV,

25   and then seized an additional $1,448,700 from his USPV boxes.

26   Records from the Employment Development Department (the “EDD”), which

27   is the California agency to whom employers must report wages earned

28   by their employees, showed Beaver had no legitimate employment

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1    income.     In addition, Beaver’s phones revealed evidence of drug

2    trafficking activity, and the in excess of $1.6 million funds were

3    forfeited as proceeds of unlawful activity.

4          14.    On April 21, 2019, a victim was kidnapped in San Diego and

5    brutally tortured in a warehouse, where the victim was hit with

6    sticks and baseball bats; stripped naked; hit with a hammer on the

7    victim’s toes; and set on fire.       Allan Newman was arrested and

8    charged with kidnapping for ransom, attempted murder, torture and

9    aggregated mayhem relative to the beating.         The victim had been
10   employed by a group of people who were engaged in distributing
11   counterfeit marijuana vaping cartridges, and the group believed the
12   victim had stolen a suitcase full of cash, which a vape cartridge
13   customer had left at the warehouse.         A portion of the funds had been
14   placed by the victim’s ex-wife in a safe deposit box at USPV, which
15   the ex-wife retrieved and used to pay the victim’s ransom.
16         15.    On March 6, 2018, officers seized $101,080 and 26 gold bars

17   from Vincent Ramos’ USPV box.       Ramos was the CEO of a company that

18   facilitated the importation, exportation and distribution,

19   internationally, of wholesale quantities of cocaine, heroin and

20   methamphetamine.     The currency and gold bars were forfeited, and

21   Ramos was indicted and pleaded guilty to Racketeering and Drug

22   Trafficking, in the Southern District of California.          See United

23   States v. Ramos, Case No. 18cr1404-WQH.

24         16.    In September 2016, officers seized $592,450 and $435,190,

25   respectively, from two USPV boxes of Mikhail Malykhin, an individual

26   who was the leader of an identity theft/computer intrusion fraud

27   ring.   He and others were involved in a complex scheme involving

28   altering hacked debit cards from a health insurance provider and

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1    altering the codes to cash out the debit cards.         Malykhin was

2    indicted and pleaded guilty to committing access device fraud, and

3    the over $1,000,000 in funds seized from Malykhin’s boxes were

4    forfeited as proceeds of the fraud and were used to pay restitution

5    to victims of Malykhin’s fraud.       See United States v. Malykhin,

6    Central District of California Case No. 16cr0688-DMG.

7          17.   In November 2015, officers seized $1,543,400 from the USPV

8    box of Gerald Lebowitz, which he stated had been brought into the

9    United States illegally to avoid taxes.        However, further
10   investigation revealed that Lebowitz was part of a conspiracy to
11   distribute methaqualone, a controlled substance, and officers seized
12   over 45 kilograms of methaqualone powder and 12 canisters of the
13   chemical o-Taluidine, both chemical precursors, during the course of
14   the investigation.      The funds were forfeited as criminal proceeds.
15   See United States of America v. Lebowitz, Central District of
16   California Case No. 17cr-0053-CAS.

17         18.   On October 28, 2015, officers seized $500,000, 22 gold bars

18   and 15 gold coins from the USPV box of Cyrus Irani, who was the

19   master bookmaker and head of an illegal gambling organization that

20   operated both internet and traditional bookmaking operations, and

21   engaged in money laundering.       He pleaded guilty to Enterprise

22   Corruption, and 14 others in his organization were convicted of

23   various gambling, money laundering and enterprise corruption charges.

24   The assets found in Irani’s box were forfeited as criminal proceeds.

25   The Property At Issue In This Case

26         19.   The assets seized from the box at issue in this case are an

27   example of persons storing assets from their illegal activity at

28   USPV, as a result of USPV’s advertisements, marketing efforts and

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1    other transactions and activities over the web, on-line and in the

2    mails, designed to induce persons to rent boxes at USPV to hide their

3    ill-gotten gains.     The assets seized represent the proceeds of

4    criminal activity and were involved in money laundering activity,

5    which therefore renders them subject to forfeiture.

6          20.   As set forth above, officers found at USPV $443,000.00 in

7    U.S. Currency (i.e., the defendant currency) inside box number 5002

8    belonging to Quran Corbin.      Despite being an individual in her

9    twenties, Corbin has a remarkably extensive criminal history for
10   someone her age.     Corbin has convictions for possession of
11   concentrated cannabis, marijuana trafficking, grand theft, burglary,
12   disorderly conduct, battery against a law enforcement officer and
13   making a false report to a law enforcement officer.          In addition,
14   Corbin was arrested in 2018 in Miami on felony burglary and grand
15   larceny charges, and there is an active warrant for Corbin’s arrest.
16   Moreover, Corbin is wanted in Arizona for presenting false
17   information to a police officer.
18         21.   Officers spoke with Corbin, who stated that she had no

19   records to support the funds found in the box, because she had not

20   paid taxes.    Contrary to that statement, however, Corbin claimed in

21   written documents that she had tax returns to reflect her income.

22   Contradictory statements are an indicator that the defendant currency

23   is traceable to illegal activity.

24         22.   In addition, the funds were bundled and rubber banded,

25   which are indicia of narcotic trafficking and other illegal activity.

26   Further, the defendant currency was and denominations consistent with

27   narcotic trafficking or other illegal activity.

28   / / /

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1          23.   There are other indicia of narcotic trafficking linking the

2    defendant currency to narcotic trafficking and money laundering.               A

3    trained, state-certified narcotic detection canine gave a positive

4    alert to the defendant currency, which signifies that the funds had

5    recently been in close proximity with narcotics.          As of the positive

6    alert, the canine had received hundreds of hours of training

7    (including weekly training after the canine’s initial certification)

8    in the detection of cocaine, methamphetamine, marijuana and heroin,

9    and the canine alerts to the scent of narcotics for which the canine
10   is trained.    The canine’s training has included routinely checking
11   both circulated and uncirculated United States currency, in order to
12   ensure that the canine does not alert to the actual odor of currency
13   itself but instead to the odor of controlled substances on the
14   currency.    Since the canine’s initial certification, the canine has
15   been responsible for the location and seizure of controlled
16   substances and United States currency.
17                              FIRST CLAIM FOR RELIEF

18         24.   Plaintiff incorporates the allegations of paragraphs 1-23

19   above as though fully set forth herein.

20         25.   Based on the above, plaintiff alleges that the defendant

21   currency represents or is traceable to proceeds of illegal narcotic

22   trafficking, was intended to be used in one or more exchanges for a

23   controlled substance or listed chemical, or was used or intended to

24   be used to facilitate a controlled substance or listed chemical

25   violation, in violation of 21 U.S.C. § 841 et seq.          The defendant

26   currency is therefore subject to forfeiture pursuant to 21 U.S.C.

27   § 881(a)(6).

28   / / /

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1                               SECOND CLAIM FOR RELIEF

2          26.   Plaintiff incorporates the allegations of paragraphs 1-23

3    above as though fully set forth herein.

4          27.   Based on the above, plaintiff alleges that the defendant

5    currency constitutes or is derived from proceeds traceable to a

6    controlled substance violation or 18 U.S.C. §§ 1343 (wire fraud)

7    and/or 1952, each of which is a specified unlawful activity as

8    defined in 18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(D).          The defendant

9    currency is therefore subject to forfeiture pursuant to 18 U.S.C.
10   § 981(a)(1)(C).

11                              THIRD CLAIM FOR RELIEF

12         28.   Plaintiff incorporates the allegations of paragraphs 1-25

13   above as though fully set forth herein.

14         29.   Based on the above, plaintiff alleges that the defendant

15   currency constitutes property involved in multiple transactions or

16   attempted transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i)

17   or (a)(1)(B)(i), or property traceable to such property, with the

18   specified unlawful activity being a controlled substance or listed

19   chemical violation, or violations of 18 U.S.C. § 1343 or 1952.            The

20   defendant currency is therefore subject to forfeiture pursuant to 18

21   U.S.C. § 981(a)(1)(A).

22                              FOURTH CLAIM FOR RELIEF

23         30.   Plaintiff incorporates the allegations of paragraphs 1-25

24   above as though fully set forth herein.

25         31.   Based on the above, plaintiff alleges that the defendant

26   currency constitutes property involved in multiple transactions or

27   attempted transactions in violation of 18 U.S.C. § 1957(a), or

28   property traceable to such property, with the specified unlawful

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1     activity being a controlled substance or listed chemical violation,

2     or violations of 18 U.S.C. § 1343 and/or 1952.         The defendant

3     currency is therefore subject to forfeiture pursuant to 18 U.S.C.

4     § 981(a)(1)(A).

5           WHEREFORE, plaintiff United States of America prays:

6           (a)   that due process issue to enforce the forfeiture of the

7     defendant currency;

8           (b)   that due notice be given to all interested parties to

9     appear and show cause why forfeiture should not be decreed;
10          (c)   that this Court decree forfeiture of the defendant currency
11    to the United States of America for disposition according to law; and
12          (d)   for such other and further relief as this Court may deem
13    just and proper, together with the costs and disbursements of this
14    action.
15    Dated: September 10, 2021          TRACY L. WILKISON
                                         Acting United States Attorney
16                                       SCOTT M. GARRANGER
                                         Assistant United states Attorney
17                                       Chief, Criminal Division
18
                                         _______/s/___________________
19                                       VICTOR A. RODGERS
                                         MAXWELL COLL
20                                       Assistant United States Attorneys
                                         Asset Forfeiture/General Crimes
21                                       Sections

22                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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1                                      VERIFICATION

2           I, Lynne Zelhart, hereby declare that:

3           1.    I am a Special Agent with the Federal Bureau of

4     Investigation.

5           2.    I have read the above Complaint for Forfeiture and know the

6     contents thereof.

7           3.    The information contained in the Complaint is either known

8     to me personally, was furnished to me by official government sources,

9     or was obtained pursuant to subpoena.        I am informed and believe that
10    the allegations set out in the Complaint are true.
11          I declare under penalty of perjury under the laws of the United
12    States of America that the foregoing is true and correct.
13          Executed on September 11, 2021 at Los Angeles, California.
14

15                                            /s/ Lynne Zelhart
                                                  Lynne Zelhart
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